            Case 3:23-cv-02880-JSC Document 307 Filed 07/12/23 Page 1 of 2




 1   James H. Weingarten, DC Bar No. 985070
     Peggy Bayer Femenella, DC Bar No. 472770
 2   James Abell, DC Bar No. 990773
     Cem Akleman, FL Bar No. 107666
 3
     Meredith R. Levert, DC Bar No. 498245
 4   Jennifer Fleury, NY Bar No. 5053178
     Federal Trade Commission
 5   600 Pennsylvania Avenue, NW
     Washington, DC 20580
 6   Tel: (202) 326-3570
     jweingarten@ftc.gov; pbayer@ftc.gov;
 7
     jabell@ftc.gov; cakleman@ftc.gov;
 8   jfleury@ftc.gov; mlevert@ftc.gov

 9   Erika Wodinsky, CA Bar No. 091700
     90 7th Street, Suite 14-300
10   San Francisco, CA 94103
11   Tel: (415) 848-5190
     ewodinsky@ftc.gov
12
     [Additional counsel identified on signature page in accordance with Local Rule 3-4(a)(1)]
13
     Attorneys for Plaintiff Federal Trade Commission
14

15                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
16                                   SAN FRANCISCO DIVISION

17    FEDERAL TRADE COMMISSION,                          Case No. 3:23-cv-02880-JSC

18            Plaintiff,                                 PLAINTIFF’S NOTICE OF APPEAL
      v.
19                                                       Honorable Jacqueline Scott Corley
      MICROSOFT CORP.
20

21    and

22    ACTIVISION BLIZZARD, INC.,

23            Defendants.
24

25

26

27

28


     PLAINTIFF’S NOTICE OF APPEAL                                             CASE NO. 3:23-CV-02880-JSC
          Case 3:23-cv-02880-JSC Document 307 Filed 07/12/23 Page 2 of 2




 1          Notice is hereby given that Plaintiff Federal Trade Commission (“FTC”) appeals to the United

 2   States Court of Appeals for the Ninth Circuit from this Court’s Opinion dated July 10, 2023 and entered

 3   on the Court’s docket on July 11, 2023 at ECF Docket Number 305 denying the FTC’s request for a

 4   preliminary injunction pursuant to Federal Trade Commission Act § 13(b), 15 U.S.C. 53(b).

 5

 6   Dated: July 12, 2023                                Respectfully Submitted,
 7
                                                         /s/ James H. Weingarten
 8                                                       James H. Weingarten
                                                         Peggy Bayer Femenella
 9                                                       James Abell
                                                         Cem Akleman
10                                                       J. Alexander Ansaldo
                                                         Michael T. Blevins
11                                                       Amanda L. Butler
                                                         Nicole Callan
12                                                       Maria Cirincione
                                                         Kassandra DiPietro
13                                                       Jennifer Fleury
                                                         Michael A. Franchak
14                                                       James Gossmann
                                                         Ethan Gurwitz
15                                                       Meredith R. Levert
                                                         David E. Morris
16                                                       Merrick Pastore
                                                         Stephen Santulli
17                                                       Edmund Saw

18                                                       Federal Trade Commission
                                                         600 Pennsylvania Avenue, NW
19                                                       Washington, DC 20580
                                                         Tel: (202) 326-3570
20

21                                                       Erika Wodinsky
                                                         90 7th Street, Suite 14-300
22                                                       San Francisco, CA 94103
                                                         Tel: (415) 848-5190
23

24                                                       Counsel for Plaintiff Federal Trade Commission

25

26

27

28

     PLAINTIFF’S NOTICE OF APPEAL                                             CASE NO. 3:23-CV-02880-JSC
